Case 8:20-cr-00434-PX Document 525 Filed 08/30/24 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
CRIMINAL NO. PX-20-0434

Vv.

JEREMY WYETH SCHULMAN,

+ + + FF FF SF HS H

Defendant

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ORDER GRANTING MOTION TO DISMISS INDICTMENT
Upon consideration of the United States’ Unopposed Motion to Dismiss the Indictment
with Prejudice, and consideration of the record in this case, the Court hereby orders that the
indictment (ECF No. 1) be, and hereby is, dismissed with prejudice pursuant to Rule 48(a) of the
Federal Rules of Criminal Procedure. All pending motions in this case are hereby dismissed as

moot and all deadlines and court dates in the current scheduling orders are hereby vacated.

DATE; 8: 30-2024 ee

Hon. Paula Xinis
United States District Court Judge
District of Maryland

